
(2008)
AM. ISUZU MOTORS, INC., ET AL.
v.
LUNGISILE NTSEBEZA, ET AL.
No. 07-919
Supreme Court of United States.
May 12, 2008.

Because the Court lacks a quorum, 28 U.S.C. §1, and since a majority of the qualified Justices are of the opinion that the case cannot be heard and determined at the next Term of the Court, the judgment is affirmed under 28 U.S.C. §2109, which provides that under these circumstances the Court shall enter its order affirming the judgment of the court from which the case was brought for review with the same effect as upon affirmance by an equally divided Court. The Chief Justice, Justice Kennedy, Justice Breyer, and Justice Alito took no part in the consideration or decision of this petition.
